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 9
                          IN THE UNITED STATES DISTRICT COURT
10
                                FOR THE DISTRICT OF ARIZONA
11
12   United States of America,                                   No. CR-23-08132-JJT
13                         Plaintiff,
                                                                 NOTICE OF
14            vs.                                           COUNSEL NAME CHANGE
15
     Donald Day, Jr.,
16
                           Defendant.
17
            NOTICE is hereby given, in accordance with Local Rule 83.3(a) of the Rules of
18
     Practice for the U.S. District Court for the District of Arizona, that Assistant United States
19
     Attorney Abbie Broughton Marsh has changed her name to Abbie Broughton.
20
            Respectfully submitted this 5th day of March, 2025.
21
                                                       TIMOTHY COURCHAINE
22                                                     United States Attorney
                                                       District of Arizona
23
24                                                      s/Abbie S. Broughton
                                                       ABBIE S. BROUGHTON
25                                                     DAVID A. PIMSNER
                                                       Assistant U.S. Attorneys
26
27
28
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 1                               CERTIFICATE OF SERVICE
 2
           I hereby certify that on March 5, 2025, I electronically transmitted the attached
 3
     document to the Clerk's Office using the CM/ECF System for filing a copy to the following
 4
     CM/ECF registrant:
 5
 6   Jami Johnson
     Mark Thomas Rumold
 7   Attorneys for Defendant
 8
      s/ Alexandria Gaulin
 9   U.S. Attorney’s Office
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